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 8                 IN THE UNITED STATES DISTRICT COURT FOR THE

 9                        EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,      )         No. CR S-98-431 KJM
                                    )
12                  Plaintiff,      )         ORDER DISMISSING INDICTMENT
                                    )
13        v.                        )
                                    )
14   DAVID EARL WILLIAMS,           )
                                    )
15                  Defendant.      )
     _______________________________)
16

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18           Defendant Williams, proceeding pro se, filed a motion to

19   dismiss the charges pending against him based on delay, noting

20   that he has never been arraigned or provided the opportunity to

21   obtain counsel.    In response, the government filed its own motion

22   to dismiss under Federal Rule of Criminal Procedure 48(a). The

23   court requested that the Federal Defender’s Office assist in

24   determining Mr. Williams’ response to the government’s motion.

25   Mr. Williams has filed a response in which he reserves his

26   objections in the event the government initiates proceedings

27   against him in the future, but does not oppose dismissal.          He

28   /////

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 1   requests that the government lift and revoke the detainer filed

 2   against him in this case.

 3           Having considered the parties’ filing, and good cause

 4   appearing,

 5           IT IS HEREBY ORDERED that the government’s motion (ECF No.

 6   358) is granted and the indictment in the above captioned case is

 7   dismissed against defendant DAVID EARL WILLIAMS, without prejudice

 8   and in the interest of justice.       Defendant’s motion to dismiss

 9   (ECF No. 356) is DENIED as moot.

10           The government is directed to lift and revoke the detainer

11   filed against defendant WILLIAMS posthaste, and to file a notice

12   of such revocation on the docket of this case within seven (7)

13   days of this order.

14           The assistance of the Federal Defender’s Office is

15   acknowledged, and that office is relieved of any further

16   obligation with respect to the court’s prior order (ECF No. 357).

17           The Clerk of the Court is directed to serve a copy of this

18   order on the Federal Defender’s Office and on the defendant at the

19   address shown in the response filed on March 26, 2012 (ECF No.

20   360).

21   DATED: March 27, 2012.

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                                      UNITED STATES DISTRICT JUDGE
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